                     Case 2:20-cv-04085-DMG-KS Document 87 Filed 09/22/21 Page 1 of 1 Page ID #:1383
    UNITED STATES DISTRICT COURT                           TRANSCRIPT ORDER FORM                                         COURT USE ONLY
   CENTRAL DISTRICT OF CALIFORNIA         Please use one form per court  reporter per case, and contact court reporter    DUE DATE:
                                       directly immediately after e-filing form. (Additional instructions on next page.)
   1a. Contact Person        Robert Zwillich                                                         2a. Contact Phone           908-464-6235                            3a. Contact E-mail       rzwillich@cravath.com
       for this Order                                                                                    Number                                                              Address


   1b. Attorney Name         J. Wesley Earnhardt                                                     2b. Attorney Phone         212-474-1000                             3b. Attorney E-mail      wearnhardt@cravath.com
       (if different)                                                                                    Number                                                              Address

  4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                             5. Name & Role of             Plaintiff, Starz Enteretainment, LLC
  Cravath, Swaine & Moore LLP                                                                                              Party Represented

  Worldwide Plaza--825 Eighth Avenue                                                                                                                  Starz Entertainment, LLC v. MGM Domestic Television Distribution LLC
                                                                                                                        6. Case Name
  New York, NY 10019

                                                                                                                        7a. District Court            2:20-cv-04085                                      7b. Appeals Court
                                                                                                                            Case Number                                                                      Case Number

  8. INDICATE WHETHER PROCEEDING WAS (choose only one per form):
                         DIGITALLY RECORDED                              TRANSCRIBED BY A COURT REPORTER; NAME OF COURT REPORTER:


 9. THIS TRANSCRIPT ORDER IS FOR:                          Appeal             Non-Appeal                          Criminal                 Civil                 CJA        USA             FPD          In forma pauperis (Court order for transcripts must be attached)

                                                                                                                                                                                       You MUST check the docket to see if the transcript has already been filed, and if so,
 10. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested, format(s), and delivery type):                                             provide the "Release of Transcript Restriction" date in column c, below.
  a. HEARING(S) OR PORTIONS OF HEARINGS (Attach additional pages if necessary. If sealed, a court                                                                         (CM/ECF access included          c. RELEASE OF TRANS.
                                                                                                                                            b. SELECT FORMAT(S)                                                                          d.        DELIVERY TYPE
  order releasing transcript to the ordering party must be attached here or emailed to                                                                                   with purchase of transcript.)      RESTRICTION DATE             30-day, 14-day, 7-day, 3-day, Daily, Hourly
  transcripts_cacd@cacd.uscourts.gov.)
    HEARING Minute Order                                           PROCEEDING TYPE / PORTION                                                          TEXT /            CONDEN-    CM/ECF                     (Provide release date of        (Check with court reporter
                       Docket#       JUDGE         If requesting less than full hearing, specify portion (e.g., witness or time).
                                                                                                                                             PDF                                            WORD
                                                                                                                                                                                                           efiled transcript, or check to before choosing any delivery time
     DATE                                                                                                                                              ASCII    PAPER      SED     ACCESS
                    (if available)   (name)            CJA orders: indicate if openings, closings, voir dire, or instructions requested.
                                                                                                                                            (email)
                                                                                                                                                      (email)            (email)    (web)
                                                                                                                                                                                          INDEXING
                                                                                                                                                                                                             certify none yet on file. )    sooner than "Ordinary-30.")
  9/21/2021                        K. Stevenson Discovery Conference                                                                          ●                                                             ●                             DAILY (Next day)




 11. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC. CJA Orders: Explain necessity of non-appeal orders, orders for transcripts of proceedings involving only a co-defendant, & special authorizations to be
 requested in Section 14 of CJA-24 Voucher (attach additional pages if needed).




 12. ORDER & CERTIFICATION. By signing below, I certify that I will pay all charges (deposit plus additional), or, where applicable, promptly take all necessary steps to secure
 payment under the Criminal Justice Act.
                                                         Date 9/22/2021                                 Signature /s/ Wes Earnhardt
G-120 (06/18)
